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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8 UNITED STATES OF AMERICA,                           )
                                                       )
 9                                 Plaintiff,          )      Case No. MJ11-9
                                                       )
10                          v.                         )      DETENTION ORDER
                                                       )
11 ALYSE BURRELL,                                      )
                                                       )
12                                 Defendant.          )

13 Offense charged:

14       Conspiracy to Acquire a Controlled Substance by Fraud.

15 Date of Detention Hearing: January 7, 2011.

16       The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which the defendant can meet will reasonably

19 assure the appearance of the defendant as required and the safety of any other person and the

20 community.

21           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22       Defendant poses a clear danger to the community by her continued criminal conduct,

23 possession of controlled substance and attempts to destroy evidence at the time of her arrest.



     DETENTION ORDER - 1
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 1 The defense argues that dangerousness is not a factor the court can consider. However, even

 2 putting the danger defendant poses, the Court finds she is a flight risk. Defendant has drug

 3 addiction problems, has violated conditions of release ordered by an Oregon Court, is not living

 4 where she has been ordered to live, and has family members who are willing to provide

 5 information that is misleading as to her whereabouts.

 6       It is therefore ORDERED:

 7       (1)        Defendant shall be detained pending trial and committed to the custody of the

 8 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 9 from persons awaiting or serving sentences, or being held in custody pending appeal;

10       (2)        Defendant shall be afforded reasonable opportunity for private consultation with

11 counsel;

12       (3)        On order of a court of the United States or on request of an attorney for the

13 Government, the person in charge of the correctional facility in which Defendant is confined

14 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

15 connection with a court proceeding; and

16       (4)        The clerk shall direct copies of this order to counsel for the United States, to

17 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

18 Officer.

19       DATED this 7th day of January, 2011.

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22
                                                           A
                                                           BRIAN A. TSUCHIDA
                                                           United States Magistrate Judge
23



     DETENTION ORDER - 2
